
The defendants were jointly indicted in the Superior Court of law for Bedford county, for an assault and battery committed on T. Minor. They pleaded jointly “not guilty,” and the jury found the following verdict. “We of the jury find the defendants 263 guilty and ^assess their fine to one hundred dollars.” They moved to arrest the judgment for these reasons, “that the husband and wife ought not to be joined in an indictment for the same offence. 2d. That joint damages ought not to be assessed against two defendants, but that the jury ought to have assessed the amercement against each, according to the degree of their offence.”
*69The case was adjourned on this motion, and the general court, June 13th, 1812, present judges Nelson, White, Stuart, Holmes, Brockenbrough, Semple, Johnston, Smith and Randolph, decided “that the first reason alleged in arrest of judgment, is insufficient to arrest it, it being lawful to join a husband and wife in such indictment; but that the second cause assigned is sufficient, because the fine ought to be assessed against each defendant separately.”
See 1st Call, p. 555. Jones v. The Commonwealth.
